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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 KOCH MINERALS SÀRL
 Chemin des Primevères 45
 Fribourg, 1700
 Switzerland

 KOCH NITROGEN INTERNATIONAL SÀRL
 Chemin des Primevères 45
 Fribourg, 1700
 Switzerland,

                        Plaintiffs,

                            v.                       Civil Action No. 1:17-cv-02559

 BOLIVARIAN REPUBLIC OF VENEZUELA
 Ministerio del Poder Popular para Relaciones
 Exteriores
 Oficina de Relaciones Consulares
 Avenida Urdaneta
 Esquina Carmelitas a Puente Llaguno
 Piso 1 del Edificio Anexo a la Torre MRE
 Caracas, 1010
 República Bolivariana de Venezuela,

                        Defendant.

                                      NOTICE OF APPEARANCE

          PLEASE TAKE NOTICE that, pursuant to LCvR 83.6, Alexander A. Yanos of Alston &

Bird LLP, hereby enters his appearance as an attorney of record on behalf of Plaintiffs, Koch

Mineral Sàrl (“KOMSA”) and Koch Nitrogen International Sàrl (“KNI”), in the above-captioned

action.

          Submitted this 18th day of July, 2018.

                                                    /s/ Alexander A. Yanos
                                                     Alexander A. Yanos
                                                     DDC Bar No. NY0219
                                                     alex.yanos@alston.com
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                                  Attorney for Plaintiffs




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